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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA


        -v-
                                                                 No. 08-cr-789 (RJS)
                                                                      ORDER
 MILTON SAMUELS,

                                Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

       On October 1, 2020, the government filed a memorandum opposing Defendant Milton

Samuels’s request for a reduction of sentence and compassionate release under the First Step Act

of 2018, 18 U.S.C. § 3582(c)(1)(A). (Doc. No. 436.) The government has attached a redacted

exhibit to that memorandum and provided the Court with the unredacted version of that exhibit,

which is comprised of Defendant’s medical records. The government requests that the unredacted

version of this exhibit be filed under seal. The Court has reviewed this private medical information

and concluded that the presumption in favor of open records is outweighed by Defendant’s privacy

interest. See United States v. Amodeo, 71 F.3d 1044, 1051 (2d Cir. 1995). Accordingly, IT IS

HEREBY ORDERED THAT the unredacted version of Exhibit 2 to the government’s

memorandum shall be filed under seal.

       Separately, the Court has reviewed Defendant’s papers (Doc. No. 434) and concluded that

the medical records accompanying that motion should also be filed under seal, as the presumption

in favor of open records is outweighed by Defendant’s privacy interest. See Amodeo, 71 F.3d at

1051. Accordingly, the Court respectfully requests that the Clerk of Court seal the unredacted
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attachments that currently appear on the public docket at Doc. No. 434 and replace them on the

public docket with the redacted versions attached hereto.



SO ORDERED.

Dated:         October 2, 2020
               New York, New York


                                                    RICHARD J. SULLIVAN
                                                    UNITED STATES CIRCUIT JUDGE
                                                    Sitting by Designation




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